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Case 7:08-cv-04068-CS-GAY Document 89 Filed 08/29/2008 P\aée.<§@flj,@| \.::

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

KONINKLIJKE PI-IILIPS ELECTRONICS

N.V. and U.S. PHILIPS CORPORATION,
Civil Action No. 08-CV-4068 (CS) (GAY)

Plaintiffs,
ECF Case
v.
ORDER FOR ADMISSION
THE ADS GROUP et al., PR() HAC VICE
Defendants.

 

 

Upon the motion of ABIGAIL M. KAGLE, attorney for Defendants Concord Records,
Inc. and Concord Music Group, Inc., and said sponsor attorney’s declaration in support,

IT IS HEREBY ORDERED THAT

Applicant’s Name: Shawn G. Hansen

Firm Name: Manatt, Phelps & Phillips, LLP
Street Address: 1001 Page Mill Road, Building 2
City/State/ZIP: Palo Alto, CA 94304

Telephone: (650) 812-1300

Facsimile: (650) 213-0260

E-mail address: shansen@rnanatt.com

is admitted to practice pro hac vice as counsel for Defendants Concord Records, lnc. and
Concord Music Group, lnc. in the above-captioned action in the United States District Court for
the Southern District of New York. All attorneys appearing before this Court are subject to the
Local Rules Of this Court, including the Rules governing discipline of attorneys lf this action is
assigned to the Electronic Case Filing (ECF) system, counsel shall immediately apply for an

ECF password at nysd.uscourts.gov. Counsel shall forward the pro hac vice fee to the Clerk of

the Court. /_` h _…'_` `_ \ g
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